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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS

 JOEL HABICH, individually and on behalf of a
 class of persons similarly situated,

                Plaintiffs,

 v.                                                        No. 22 CV 4438

 EXELON CORPORATION,                                       REMOVED FROM:
 COMMONWEALTH EDISON COMPANY,                              Circuit Court of Cook
 ACLARA TECHNOLOGIES, LLC, and                             County, Illinois
 ACLARA METERS, LLC,                                       Case No. 2022L006413

                Defendants.


                DEFENDANT COMMONWEALTH EDISON COMPANY’S
                      NOTICE OF SERVICE OF DISCOVERY

        Defendant Commonwealth Edison Company gives notice that Commonwealth Edison

Company’s Second Amended Response to Plaintiffs’ First Set of Rule 33 Interrogatories were

served electronically on all parties by their counsel of record on September 12, 2023, pursuant to

the Court’s Order of September 5, 2023 (ECF No. 90), and a copy was not filed with the Court

pursuant to Federal Rule of Civil Procedure 5(d) and Local Rule 26.3.
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          Dated: September 12, 2023       Respectfully submitted,

                                          /s/ Brian O. Watson

                                          Brian O. Watson
                                          Sarah E. Finch
                                          RILEY SAFER HOLMES & CANCILA LLP
                                          70 W. Madison St., Ste. 2900
                                          Chicago, Illinois 60602
                                          (312) 471-8700 – Phone
                                          (312) 471-8701 – Fax
                                          bwatson@rshc-law.com
                                          sfinch@rshc-law.com

                                          Paul E. Kelly
                                          M. Kellett McConville
                                          KELLY & KING, P.C.
                                          19 S. LaSalle St., Suite 1000
                                          Chicago, Illinois 60603
                                          312-553-5290 – Phone
                                          312-553-5291 – Fax
                                          pek@kellykinglaw.com
                                          mkm@kellykinglaw.com

                                          Counsel for Defendant
                                          Commonwealth Edison Company


4862-7203-4431, v. 1
